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               Exhibit 1
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                   DATED: September 9, 2015




     Markel CATCo Investment Management Ltd. (the “Company”)

                               and

                 Anthony Belisle (the “Employee”)




            ______________________________________

                  EMPLOYMENT AGREEMENT
            ______________________________________
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THIS EMPLOYMENT AGREEMENT (this “Agreement”) is made this 9th day of September
2015

BETWEEN:

(1)    Markel CATCo Investment Management Ltd. (the “Company”);

and

(2)    Anthony Belisle (the “Employee”).

IT IS AGREED by such parties as follows, in consideration of the promises and mutual
agreements contained herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged by both parties:

1.    Certain Definitions

1.1   In this Agreement, including the Schedules, the following words and expressions shall,
      unless the context otherwise requires, have the following meanings:

       Word or Expression                                         Meaning

       “affiliate”                         with respect to a given entity (including the
                                           Company), any other entity that owns or controls, is
                                           owned or controlled by, or is under common
                                           ownership or control with, such entity;

       “Board”                             the board of directors of the Company;

       “Completion”                        the completion of the transactions contemplated by
                                           and pursuant to the Purchase Agreement;

       “Effective Date”                    the effective date of the Completion;

       “Insurance”                         insurance and reinsurance business;

       “Business Rules”                    any laws, regulations, requirements, codes of
                                           conduct, standards of best practice or any other rules
                                           published by the Bermuda Monetary Authority or
                                           any other regulatory authority having jurisdiction
                                           over the Company or the Employee, which may
                                           exist or relate from time to time in respect of the sale
                                           or placement of, or dealing or handling with, any
                                           Insurance, or any amendment, extension or variation
                                           of any Insurances, or the handling of monies or
                                           policy/product documents in relation to any
                                           Insurances, or any undertakings, commitments,
                                           obligations or responsibilities to any Regulatory


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                                          Organization;

      “Purchase Agreement”                that certain agreement relating to the sale and
                                          purchase of the assets and business of CATCo
                                          Investment Management Ltd. and CATCo-Re Ltd.,
                                          dated as of September 9, 2015, by and among the
                                          Company, Markel Corporation, CATCo Investment
                                          Management Ltd., and CATCo-Re Ltd.

      “Regulatory Organization”           the Ministry of Finance, the Bermuda Monetary
                                          Authority and any sub-division thereof, and any
                                          other regulatory authority having jurisdiction over
                                          the Company or the Employee;

2.    Employment and Term

2.1   During the Employment Period (defined below), the Company hereby employs the
      Employee, and the Employee hereby accepts employment with the Company, in that
      position and title specified in Schedule 1, and reporting to such person or position
      specified in Schedule 1 or such other person as the Company may designate, upon and
      subject to the terms and conditions of this Agreement.

2.2   The term of the Employee’s employment pursuant to this Agreement shall commence
      upon the Effective Date and shall continue through and including December 31, 2018,
      unless the Employee’s employment is earlier terminated pursuant to Section 9 (such
      period referred to as the “Employment Period”). If the Employee’s employment with the
      Company continues beyond the Employment Period (“Post-Term Employment”), then
      unless the Company and the Employee negotiate and execute a new written employment
      agreement to govern any such Post-Term Employment, such Post-Term Employment
      shall be at-will, terminable by either party at any time for any or no reason with or
      without cost or advance notice, and the provisions of this Agreement shall not apply to
      such Post-Term Employment, provided that this Section 2.2 and Sections 8, 11, 12, 13,
      14, 15, 16, 17, 18, 19 and Schedule 2 below shall continue in full force and effect in
      accordance with their respective terms as if (solely for purposes of such Sections) the
      Employment Period continued throughout the Post-Term Employment, and the
      Employee’s employment shall not be considered to have terminated for purposes of any
      such Sections during the Post-Term Employment.

3.    Principal duties of the Employee

3.1   During the Employment Period, the Employee shall:

      (a)    undertake and faithfully and diligently perform all such duties, and exercise such
             powers and functions, as may be assigned to or vested in the Employee from time
             to time by the Board;

      (b)    use the Employee’s reasonable efforts to achieve such targets, benchmarks and
             goals as are set by the Board for the promotion and growth of the Company;


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      (c)    at all times conform to the good faith and lawful directions of the Board;

      (d)    devote the whole of the Employee’s working time, attention and skills to the
             development of the Employee’s business within the Company and to the affairs of
             the Company (as required by the Board); and

      (e)    act at all times in the best interests, and promote and protect the interests, of the
             Company.

3.2   During the Employment Period, the Employee also shall:

      (a)    stay properly apprised of all Business Rules relating to the performance of the
             Employee’s obligations to the Company (as the case may be) under this
             Agreement, and relating to the conduct of business with and on behalf of ceding
             insurer clients or prospective ceding insurer clients of the Company or its
             affiliates and investors or prospective investors in the investment funds managed
             by the Company on behalf of whom the Employee is to act;

      (b)    comply in all material respects with all Business Rules, whether such matters are
             binding on the Employee personally or the Company;

      (c)    promptly disclose in writing to the Company, so far as the Employee is aware of
             the same, the nature of any personal interest of the Employee, whether direct or
             indirect, in any contract or proposed contract entered into by the Company; and

      (d)    conduct the Employee’s activities on behalf of the Company, and otherwise act, in
             compliance with all proper standards of corporate governance, and with all
             applicable policies and procedures of the Company and its affiliates, each as in
             effect or as amended from time to time.

3.3   The Employee shall immediately give to the Company full written details of all
      communications and correspondence the Employee may have with any Regulatory
      Organization whether in relation to this employment or any previous employment,
      subject to Section 11 below.

3.4   The Employee acknowledges the right of the Company, whether during the Employment
      Period or at any time after it has terminated, to notify and otherwise deal with any
      appropriate Regulatory Organization in connection with any conduct of the Employee
      which does not (or is alleged not to) comply with any Business Rules, or the spirit of such
      Business Rules.

3.5   Subject in each case to Section 11 below, if the Employee becomes aware of any
      circumstances which may or are likely to lead to a complaint or claim being made against
      the Company or any of its affiliates, or which may require notification to a Regulatory
      Organization, whether for negligence, breach of duty or otherwise, then the Employee
      shall immediately notify the Company in writing and, in respect of such complaint or
      claim, the Employee shall:



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      (a)    not admit or acknowledge any liability or responsibility;

      (b)    provide such truthful details and reports as the Company may require; and

      (c)    cooperate in full with all reasonable and lawful requests and instructions of the
             Company, professional indemnity insurers of the Company, or the relevant
             Regulatory Organization.

3.6   Without limiting the full observance by the Employee of the Business Rules, the
      Employee agrees that in the conduct of any business, the Employee will give a true,
      complete and accurate description of the risks involved to the relevant investor or
      prospective investor in the investment funds offered by the Company, and that, in relation
      to any investor, the Employee will act in such investor’s best interests at all times.

4.    Restriction on other activities by the Employee

4.1   The Employee agrees that, during the Employment Period, the Employee shall not do any
      or all of the following (except with the prior written consent of the Board):

      (a)    engage directly or indirectly in the conduct of any other commercial business;

      (b)    be directly or indirectly concerned or interested in any business which is in
             competition with or in opposition to any business carried on by the Company or
             any of its affiliates; or

      (c)    hold any ownership or debt interests of any kind in any ceding insurer client of
             the Company or its affiliates.

5.    Place of Performance of Duties

      The Employee shall perform his duties hereunder in such offices of the Company and
      such other locations as his duties shall require or as the Board otherwise shall direct,
      including such business travel as may be required for such purposes.

6.    Compensation and Expenses

6.1   During the Employment Period, the Employee shall be paid by the Company a base
      salary at the gross annualized rate as specified in Schedule 1, which shall be payable in
      monthly installments in arrears in accordance with the Company’s regular payroll policy,
      and shall be deemed to accrue pro-rata from day to day.

6.2   In addition, during the Employment Period, the Employee shall be eligible to receive
      certain incentive compensation pursuant to the terms of Schedule 1.

6.3   In addition, during the Employment Period, the Company shall reimburse the Employee
      for all reasonable and necessary out-of-pocket business expenses properly incurred by the
      Employee in the course of the Employee’s employment for the benefit of the business of
      the Company, subject to Section 12 below and the Company’s business expense


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      reimbursement policies, as in effect or amended from time to time.

7.    Employee Benefits

      During the Employment Period, the Employee shall be eligible to participate in such
      employee benefit plans (including with respect to vacation and sick leave), and to receive
      such other fringe benefits, as the Company may in its discretion make available to its
      similarly situated employees generally, subject to all present and future terms and
      conditions of such benefit plans and other fringe benefits (in each case as in effect,
      amended or terminated from time to time in the Company’s discretion for similarly
      situated employees generally). The Company shall credit the Employee for the
      Employee’s past service with CATCo Investment Management Ltd. for purposes of
      eligibility, vesting and benefit accruals under the Company’s employee benefit plans,
      except to the extent such service credit would result in the duplication of benefits.
      Notwithstanding the foregoing, the Employee shall not be eligible at any time during the
      Employment Period to participate in or receive any benefits under any severance,
      separation, termination or similar plans, policies or programs (if any) of the Company or
      any of its affiliates.

8.    Confidentiality, Intellectual Property and Restrictive Covenants.

8.1   The Employee hereby acknowledges that, by virtue of the Employee’s unique
      relationship with the Company pursuant to this Agreement, the Employee will acquire
      and have access to Confidential Information (as defined below) and will also develop a
      unique and comprehensive familiarity with the Company and its Business (as defined
      below) and affiliates, which the Employee would not have otherwise had but for the
      Employee’s employment with the Company, and which the Employee acknowledges are
      valuable assets of the Company and its affiliates. The Employee further acknowledges
      and agrees that the covenants in this Section 8 also are reasonably necessary and
      appropriate to protect the value of the goodwill and other assets acquired by the Company
      pursuant to the transactions contemplated by the Purchase Agreement. Accordingly, the
      Employee agrees to undertake the obligations in this Section 8, which the Employee
      acknowledges are reasonably designed to protect the legitimate business interests of the
      Company and its affiliates, without unreasonably restricting the Employee’s post-
      employment opportunities.

8.2   The Employee acknowledges and agrees that all Confidential Information is, shall be and
      shall remain the property of the Company. The Employee agrees and covenants with the
      Company, as follows, subject in each case to Section 11 below:

      (a)    Except as required by law or as authorized in advance by the Company in
             furtherance of the Employee’s employment, the Employee shall not, at any time
             during or after the Employment Period, directly or indirectly use, disclose,
             reproduce, or take any action which may result in the use, disclosure or
             reproduction of, any Confidential Information for any purpose whatever,
             including without limitation for the Employee’s own benefit, for that of any other
             party or in any way to the detriment of the Company or any of its affiliates.


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      (b)    The Employee shall at all times during the Employment Period use all reasonable
             efforts to prevent unauthorized publication, disclosure, use or reproduction of any
             Confidential Information.

      (c)    The Employee shall not at any time during the Employment Period make, other
             than for the benefit of the Company, any lists, notes or memoranda relating to any
             matter within the scope of and directly or indirectly concerning the business,
             dealings or affairs of the Company or any of its affiliates.

      (d)    “Confidential Information” as used in this Agreement means all confidential
             competitively sensitive and proprietary information or materials relating or
             belonging to the Company or any of its affiliates (in whatever form, whether or
             not reduced to writing, whether held in hard copy or any electronic medium, and
             whether or not acquired by the Company pursuant to the Purchase Agreement or
             otherwise acquired or developed), including without limitation all confidential or
             proprietary information furnished or disclosed to or otherwise obtained by the
             Employee in the course of the Employee’s employment, and further includes
             without limitation: computer programs; patented or unpatented inventions,
             discoveries and improvements; marketing, organizational, management, operating
             and business plans and strategies; research and development; policies and
             manuals; sales forecasts; information concerning actual or potential regulatory,
             legal, compliance, professional indemnity claims or investigations involving the
             Company or any of its affiliates; employee personnel file and medical file
             information; pricing and nonpublic financial information; current and prospective
             ceding insurer client, investor and agent lists and information on or belonging to
             ceding insurer clients, investors and agents or their employees; information
             concerning planned or pending acquisitions, investments or divestitures; and
             information concerning purchases of major equipment or property. “Confidential
             Information” does not include information that lawfully is or becomes generally
             and publicly known outside of the Company and its affiliates other than through
             the Employee’s breach of this Agreement or breach by another person or entity of
             some other obligation.

      (e)    Nothing herein prohibits the Employee from disclosing Confidential Information
             as legally required pursuant to a validly issued subpoena or order of a court,
             Regulatory Organization or other governmental entity of competent jurisdiction,
             provided that the Employee shall first promptly notify the Company if the
             Employee receives a subpoena, court order or other order requiring any such
             disclosure, to allow the Company to seek protection therefrom in advance of any
             such legally compelled disclosure.

8.3   By the Employee’s execution of this Agreement, the Employee hereby agrees to abide by
      the Intellectual Property Agreement attached as Schedule 2 hereto and hereby made a
      part of this Agreement.

8.4   Except as expressly authorized by the Company in furtherance of the Employee’s
      employment duties, the Employee shall not, at any time during the Employee’s


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      employment and for twenty-four (24) months after the termination thereof by either party
      for any or no reason, directly or indirectly (whether as a sole proprietor, owner (whether
      of equity, debt or other interests), employer, partner, investor, shareholder, member,
      employee, consultant or otherwise):

      (a)    Engage in or assist any other person or entity in engaging in the business of
             insurance, reinsurance (including retrocession) or investment management
             relating to insurance or reinsurance (including retrocession) risk (the “Business”),
             perform services involving the Business in any executive, managerial, sales,
             marketing, research or other competitive capacity for any person or entity
             engaged in the Business, or provide material financial assistance involving the
             Business to any person or entity engaged in the Business, in each case anywhere
             in Bermuda, the United States of America or the United Kingdom (the
             “Territory”), it being understood and agreed that the Company actively conducts
             and will conduct the Business throughout the Territory and that the Business
             effectively may be engaged in from any location throughout the Territory; or

      (b)    perform services or provide products relating to and competitive with the
             Business for or to, or accept or facilitate the acceptance of orders or instructions
             relating to and competitive with the Business from, any Ceding Insurer Client or
             Investor or Prospective Ceding Insurer Client or Investor (as defined below); or

      (c)    solicit any Ceding Insurer Client or Investor or Prospective Ceding Insurer Client
             or Investor for the purpose of performing or providing or facilitating the
             performance or provision of any services or products, or accepting or facilitating
             the acceptance of orders or instructions, relating to and competitive with the
             Business; or

      (d)    induce, solicit, or attempt to persuade any employee, consultant or other agent of
             the Company or any of its affiliates to terminate his, her or its employment,
             consultancy or other relationship or association with the Company or any such
             affiliate in order to enter into any employment or consulting relationship with or
             perform services for any other person or entity; or

      (e)    induce, solicit, or attempt to persuade any supplier, vendor or other person or
             entity with which the Company or any of its affiliates has a business relationship
             to terminate, restrict or otherwise modify its business relationship with the
             Company or its affiliates.

8.5   Notwithstanding the foregoing, nothing in this Section 8 shall prohibit the Employee
      from owning not in excess of two percent (2%) in the aggregate of any class of capital
      stock or other ownership interests of any company if such stock or other ownership
      interests are publicly traded and listed on any national or regional stock exchange.

8.6   As used in this Section 8:

      (a)    “Ceding Insurer Client or Investor” means any ceding insurer client of the
             Company or any of its affiliates, any investor in any collective investment scheme


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             then managed or operated by the Company or any of its affiliates, or any person
             or entity whose investment portfolio or assets are or were managed by the
             Company or any of its affiliates, in each case with respect to whom, at any time
             during the twenty-four (24) month period preceding the termination of the
             Employee’s employment, the Employee: (i) had material business dealings, or
             (ii) acquired or had access to Confidential Information, in each case in the course
             of his employment with the Company or any of its affiliates (or, prior to the
             Effective Date, in the course of his employment with CATCo Investment
             Management Ltd. or any of its affiliates).

      (b)    “Prospective Ceding Insurer Client or Investor” means any person or entity other
             than a Ceding Insurer Client or Investor with respect to which, at any time during
             the twelve (12) month period preceding the termination of the Employee’s
             employment, the Employee: (i) submitted or assisted in the submission of a
             presentation or proposal of any kind in respect of the management of its insurance
             or reinsurance exposures or its investment portfolio or assets, as applicable, or (ii)
             had substantial contact or acquired or had access to Confidential Information, in
             each case as a result of or in connection with the Employee’s employment with
             the Company or any of its affiliates (or, prior to the Effective Date, as a result of
             or in connection with the Employee’s employment with CATCo Investment
             Management Ltd. or any of its affiliates).

8.7   Promptly upon termination of the Employee’s employment by either party for any or no
      reason, or, if earlier, upon request of the Company, the Employee shall return to the
      Company any and all property of the Company, its affiliates, or the actual and
      prospective ceding insurer clients or investors of any of them, including without
      limitation any documents or things containing any Confidential Information, computer
      programs and drives or storage devices of any kind (portable or otherwise), minutes,
      memoranda, correspondence, files, forms, notes, records, charts, or any copies thereof (in
      whatsoever form held and whether or not held on computer storage media), further
      including without limitation any and all laptops and other computer equipment,
      blackberries and similar devices, cellphones, credit cards, keys and other access cards,
      and electronic and hardcopy files.

8.8   Following termination of the Employee’s employment by either party for any or no
      reason, the Employee shall refrain from all conduct, verbal or otherwise, that disparages
      or damages the reputation, goodwill or standing in the community of the Company, any
      of its affiliates or their respective businesses or representatives.

8.9   The parties agree that in the event any of the prohibitions or restrictions set forth in this
      Section 8 (including without limitation in Schedule 2) are found by a court of competent
      jurisdiction to be unreasonable or otherwise unenforceable, it is the purpose and intent of
      the parties that any such prohibitions or restrictions be deemed modified or limited so
      that, as modified or limited, such prohibitions or restrictions may be enforced to the
      fullest extent possible.




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8.10   The Employee acknowledges and agrees that a breach of any provision of this Section 8
       (including without limitation any provision of Schedule 2) will result in immediate and
       irreparable harm to the Company and its affiliates for which full damages cannot readily
       be calculated and for which damages are an inadequate remedy. Accordingly, the
       Employee agrees that the Company and its affiliates shall be entitled to injunctive relief
       to prevent any such actual or threatened breach or any continuing breach by the
       Employee (without posting a bond or other security), without limiting any other remedies
       that may be available to them. The Employee further agrees to reimburse the Company
       and its affiliates for all costs and expenditures, including but not limited to reasonable
       attorneys’ fees and court costs, incurred by any of them in connection with the successful
       enforcement of any of their rights under this Section 8 (including without limitation
       Schedule 2).

9.     Termination

9.1    Notwithstanding anything to the contrary in this Agreement, the Employee’s employment
       and the Employment Period may be terminated at any time as provided in this Section 9:

       (a)    The Employee’s employment and the Employment Period may be terminated by
              the Company at any time for any or no reason, with or without Cause or advance
              notice and whether or not due to Incapacity (each as defined in Schedule 1). Any
              such termination of employment shall be effective upon written notice of such
              termination to the Employee.

       (b)    The Employee’s employment and the Employment Period shall automatically
              terminate upon the Employee’s death.

       (c)    Subject to Section 2.2 above, the Employee’s employment shall automatically
              terminate upon the expiration of the Employment Period.

9.2    Upon termination of the Employment Period by either party for any or no reason, the
       Employee shall be deemed automatically to have resigned as of such effective
       termination date from any and all officer and director positions (if any) that the Employee
       then holds with the Company or any of its affiliates. The Board is irrevocably authorized
       to appoint another officer or director to act as the Employee’s attorney in the Employee’s
       name and on the Employee’s behalf and to sign any documents or do any acts or things
       necessary or appropriate to effect such resignations.

10.    Compensation Upon Termination

10.1   In the event of any termination of the Employee’s employment and the Employment
       Period by either party for any or no reason (whether or not due to Cause or Incapacity) or
       due to the Employee’s death: (a) the Employee shall receive any earned and unpaid base
       salary (and, if required by applicable law, earned and unused vacation pay) through the
       effective date of termination of the Employee’s employment, payable by the next
       regularly scheduled payday after such effective termination date; (b) the Employee shall
       receive any unreimbursed expenses payable pursuant to this Agreement, provided that the
       Employee shall submit all requests to the Company for expense reimbursements within


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       thirty (30) calendar days after the effective date of termination of the Employee’s
       employment; and (c) the Employee’s participation in and rights under any applicable
       employee benefit plans will be governed by the terms and conditions of those plans (as in
       effect or amended from time to time) (collectively, the “Basic Separation Payments and
       Benefits”).

10.2   The Employee’s eligibility for certain Incentive Compensation (or a portion thereof), if
       any, in connection with a termination of Employee’s employment is governed by and
       subject to the terms and conditions set forth in Schedule 1.

10.3   Except as expressly provided in this Agreement, the Employee shall not be entitled to, or
       receive, any severance pay or other amounts or benefits of any kind in the event of any
       termination by either party of the Employee’s employment for any or no reason. Without
       limiting the generality of the foregoing, any termination of the Employee’s employment
       due to the expiration of the Employment Period shall not constitute or be considered a
       termination without Cause, and shall not entitle the Employee to any amounts or benefits
       other than the Basic Separation Payments and Benefits.

11.    No Interference

       Notwithstanding any other provision of this Agreement, nothing in this Agreement shall
       prohibit the Employee from confidentially or otherwise (without informing the Company
       or its affiliates) communicating or filing a charge or complaint with a governmental
       entity, participating in a governmental investigation, or giving truthful testimony or
       disclosures to a governmental entity, or if properly subpoenaed or otherwise required to
       do so under applicable law.

12.    Withholding; Compliance with Internal Revenue Code Section 409A.

12.1   All amounts and benefits payable under this Agreement shall be reduced by any and all
       required or authorized withholding and deductions.

12.2   This Agreement shall be interpreted and construed in a manner that avoids the imposition
       of taxes and other penalties under Section 409A of the Internal Revenue Code of 1986, as
       amended (such code referred to as the “Code,” and such taxes and other penalties referred
       to collectively as “409A Penalties”), to the extent applicable. In the event that the terms
       of this Agreement would subject the Employee to 409A Penalties, the Company and the
       Employee shall cooperate diligently to amend the terms of this Agreement to avoid such
       409A Penalties, to the extent possible. All references in this Agreement to the
       Employee’s termination of employment shall mean a separation from service within the
       meaning of Section 409A of the Code. Each payment under this Agreement as a result of
       the separation of the Employee’s service shall be considered a separate payment for
       purposes of Section 409A of the Code. Any reimbursement (including any advancement)
       payable to the Employee pursuant to this Agreement shall be conditioned on the
       submission by the Employee of all expense reports reasonably required by the Company
       under any applicable expense reimbursement policy, and shall be paid to the Employee
       within thirty (30) calendar days following receipt of such expense reports, but in no event



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       later than the last day of the calendar year following the calendar year in which the
       Employee incurred the reimbursable expense. Any amount of expenses eligible for
       reimbursement or in-kind benefit provided during a calendar year shall not affect the
       amount of expenses eligible for reimbursement or in-kind benefit to be provided during
       any other calendar year. The right to reimbursement or to an in-kind benefit pursuant to
       this Agreement shall not be subject to liquidation or exchange for any other benefit.
       Notwithstanding any of the foregoing provisions of this Section 12, under no
       circumstances shall the Company be responsible for any taxes, penalties, interest or other
       losses or expenses incurred by the Employee due to any failure to comply with Section
       409A of the Code.

13.    Notices

13.1   Any notice, request or other communication required or permitted to be given hereunder
       shall be made to the following addresses or to any other address designated by either of
       the parties hereto by notice similarly given: (a) if to the Company, to Markel
       Corporation, 4521 Highwoods Parkway, Glen Allen, VA 23060, United States of
       America, Attention: Richard R. Whitt III, email: rwhitt@markelcorp.com, fax: (804)
       527-3810, with a copy to Markel Corporation, 4521 Highwoods Parkway, Glen Allen,
       VA 23060, United States of America, Attention: Richard R. Grinnan, email:
       rgrinnan@MarkelCorp.com, fax: (804) 527-3810; and (b) if to the Employee, to the
       Employee’s address listed on Schedule 1. All such notices, requests or other
       communications shall be sufficient if made in writing either (i) by personal delivery to
       the party entitled thereto, (ii) by facsimile with confirmation of receipt or by email, (iii)
       by certified mail, return receipt requested, or (iv) by express courier service, and shall be
       effective upon personal delivery, upon confirmation of receipt of facsimile transmission,
       upon email transmission, upon the fourth calendar day after mailing by certified mail, or
       upon the second calendar day after sending by express courier service.

14.    Assignment; Third Party Beneficiaries

14.1   This Agreement is enforceable by the Company and its affiliates and may be assigned or
       transferred by the Company to, and shall be binding upon and inure to the benefit of, any
       parent or other affiliate of the Company or any person or entity which at any time,
       whether by merger, purchase or otherwise, acquires all or substantially all of the assets,
       stock or business of the Company or of any discrete portion thereof. The Employee may
       not assign or delegate any of the Employee rights or obligations under this Agreement.
       The parties agree that the affiliates of the Company are, and are expressly intended to be,
       third party beneficiaries of this Agreement having the full right to enforce the provisions
       of this Agreement applicable to or protective of affiliates, including without limitation
       Section 8 above.

15.    Amendment and Waiver

15.1   This Agreement may not be amended orally and may only be amended by a written
       agreement signed by both parties (subject to Sections 8.9 and 19.1 herein). A waiver by
       either party hereto of any of its rights or remedies under this Agreement on any occasion


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       shall not be a bar to the exercise of the same right or remedy on any subsequent occasion
       or of any other right or remedy at any time.

16.    Governing Law; Jurisdiction; Venue

16.1   This Agreement shall be governed by the internal laws of the state of New Hampshire,
       without regard to its conflict of laws rules. The parties hereby irrevocably consent to,
       and agree not to object or assert any defense or challenge to, the jurisdiction and venue of
       the state and federal courts located in New Hampshire, and agree that any claim arising
       under or relating to this Agreement or the Employee’s employment shall be brought
       exclusively in such a New Hampshire court.

17.    Headings

17.1   The Section headings used herein are for convenience of reference only and are not to be
       considered in construction of the provisions of this Agreement.

18.    Entire Agreement; Survival; Payments to Beneficiaries

18.1   This Agreement (including without limitation Schedules 1 and 2 hereto) contains the
       entire agreement between the parties with respect to the subject matter contained herein
       and supersedes all prior or contemporaneous negotiations, understandings or agreements
       between the parties, whether written or oral, with respect to such subject matter;
       provided, however, that, subject to Section 11 above: (a) nothing in this Agreement shall
       limit, supersede, waive or release the Employee from the Employee’s Non-Competition,
       Non-Solicitation and Non-Disclosure Agreement with the Company dated as of the date
       hereof and executed by the Employee pursuant to and as a condition of the transactions
       contemplated by the Purchase Agreement (the “Seller Noncompetition Agreement”), or
       any fiduciary, statutory or other obligations the Employee has to the Company or any of
       its affiliates under applicable law, all of which shall continue in full force and effect and
       which the Employee shall comply with; and (b) the Company expressly reserves and
       retains, and is not limiting, superseding, waiving or releasing, any and all rights and
       claims that accrued under any agreement concerning confidentiality, intellectual or other
       property, or post-employment competitive or detrimental activities between the
       Employee and CATCo Investment Management Ltd. or any of its affiliates, the
       Employee hereby acknowledging and agreeing that any and all such rights and claims
       have been validly assigned to the Company pursuant to the Purchase Agreement.

18.2   Subject to Section 2.2 above, provisions of this Agreement (including the Schedules
       hereto) which by their terms or context apply or have continuing effect following the
       Employment Period shall survive and continue in full force and effect in accordance with
       their respective terms, notwithstanding any termination of the Employment Period or the
       Employee’s employment by either party. If the Employee dies before receiving any
       amounts to which the Employee is entitled under this Agreement, such amounts shall be
       paid in accordance with the terms of this Agreement to the beneficiary designated in
       writing by the Employee, or if none is so designated, to the Employee’s estate.




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                                         SCHEDULE 1

Employee Name and         Anthony Belisle, P.O. Box 56, 308 Sewall Road, Wolfeboro, NH 03894.
Address                   Tony.belisle@catcoim.com.

Position                  Chief Executive Officer.

Reports to                The Board.

Base salary (gross        US $1,000,000 per year.
annualized rate)

Incentive Compensation    In connection with the Employee’s employment with the Company, he shall
                          be eligible to receive incentive compensation comprised of a “Continued
                          Service Element” and a “Performance Element” (collectively, “Incentive
                          Compensation”), subject to the terms and conditions of the Agreement
                          including this Schedule 1:

                          Definitions

                          The following terms shall have the following definitions for purposes of this
                          Schedule 1 and the remainder of the Agreement:

                          •   “Cause” means any of the following conduct by the Employee, as
                              determined in good faith by the Company: (A) embezzlement,
                              misappropriation of corporate funds, or other material acts of dishonesty;
                              (B) conviction of any felony, or of any misdemeanor involving moral
                              turpitude, or entry of a plea of guilty or nolo contendere to any such
                              felony or misdemeanor; (C) engagement in any activity that the
                              Employee knows or reasonably should know will or could materially
                              harm the business or reputation of the Company or any of its affiliates;
                              (D) refusal to perform or disregard of the Employee’s duties and
                              responsibilities, or failure to adhere to the Company’s or any of its
                              affiliates’ applicable corporate codes, policies or procedures, as in effect
                              or amended from time to time; or (E) material breach of the Agreement
                              (including without limitation Section 8) or other material obligation to
                              the Company or any of its affiliates (including without limitation the
                              Seller Noncompetition Agreement). Notwithstanding the foregoing, the
                              Company shall not terminate the Employee’s employment pursuant to
                              subparts (C), (D) or (E) above unless it first gives the Employee notice of
                              and a reasonable opportunity to cure any such grounds for termination
                              (provided that no such notice and cure opportunity shall be required as to
                              any such grounds that are not reasonably susceptible to a cure under the
                              circumstances).

                          •   “Fee Income” means the aggregate management fee income, net of
                              introducer fees, rebates and fee sharing arrangements, but before the
                              deduction of the expenses incurred in operating the Company and any
                              funds and insurance companies managed by the Company (collectively,
                              the “Company Group”) (including all salary costs and overheads),
                              received by the Company Group over the entire Retention and
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                  Performance Period, provided that for purposes of determining Fee
                  Income hereunder, the Company shall disregard any fee income
                  attributable to the business operations of any entity acquired by the
                  Company during the Retention and Performance Period or to any other
                  unusual or nonrecurring events occurring during such period. The
                  Company’s good faith determination of Fee Income shall be final and
                  binding for purposes of determining the Employee’s eligibility for, and
                  the amount of, any Performance Element.

             •    “Incapacity” means such physical or mental condition of the Employee
                  which renders or is expected to render the Employee incapable of
                  performing the essential functions of the Employee’s position hereunder
                  with (to the extent required by law) or without reasonable
                  accommodation for ninety (90) consecutive calendar days, or for one
                  hundred twenty (120) calendar days (whether consecutive or not) within
                  any one hundred eighty (180)-calendar-day period (in each case, except
                  as otherwise provided by law), as determined in good faith by the
                  Company upon consultation with a physician selected by the Company in
                  its discretion. The Employee hereby agrees to submit to any reasonable
                  medical examination(s) as may be recommended by the Company for the
                  purpose of determining the existence or absence of Incapacity.

             •    “Retention and Performance Period” means the period that commences
                  on January 1, 2016 and ends on (and including) December 31, 2018.

             Continued Service Element

             The Employee shall be eligible to receive a total gross aggregate Continued
             Service Element of the Incentive Compensation equal to US $37,500,000.
             The Employee shall earn one-third (1/3) of such total gross aggregate
             Continued Service Element (i.e., US $12,500,000) as of each of the
             following dates (each such date, a “vesting date,” and each such payment, a
             “Retention Payment”):

              •   December 31, 2016;

              •   December 31, 2017; and

              •   December 31, 2018;

             provided in each case that the Employee complies with this Agreement and
             the Seller Noncompetition Agreement and remains actively and continuously
             employed in good standing with the Company as of each such applicable
             vesting date (and subject to the remaining provisions below). Any such
             earned Retention Payment shall be paid within thirty (30) calendar days after
             the applicable vesting date upon which it becomes earned.

             Performance Element

             The Employee shall be eligible to receive a total gross aggregate target
             Performance Element of the Incentive Compensation based on Fee Income
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             received during the Retention and Performance Period, provided that the
             Employee complies with this Agreement and the Seller Noncompetition
             Agreement and remains actively and continuously employed in good
             standing with the Company throughout the Retention and Performance
             Period (and subject to the remaining provisions below).

             The Performance Element for which the Employee is eligible shall be
             calculated as follows:

             (i) $37,500,000 multiplied by (ii) the quotient of Fee Income divided by
                 $81,000,000.

                   (i.e., $37,500,000 x (Fee Income ⁄ $81,000,000))

             Any Performance Element of the Incentive Compensation that becomes
             earned and payable hereunder shall be paid within thirty (30) calendar days
             after the last day of the Retention and Performance Period.

             Termination Provisions

             Notwithstanding the foregoing:

             (a)     in the event the Company terminates the Employee’s employment
                    without Cause (and not due to Incapacity) with an effective termination
                    date occurring prior to the last day of the Retention and Performance
                    Period:

                    (i) the Employee shall be deemed to have earned any and all then-
                        unearned and unpaid Retention Payments as of such effective
                        employment termination date, which shall then be paid to the
                        Employee within thirty (30) calendar days after such effective
                        employment termination date; and

                    (ii) the Employee shall remain eligible to receive the Performance
                         Element (to be calculated and determined as provided above) as if
                         the Employee’s employment had continued in good standing
                         through the end of the Retention and Performance Period (provided,
                         however, that the Employee continues to comply with this
                         Agreement and the Seller Noncompetition Agreement). Any
                         Performance Element of the Incentive Compensation that becomes
                         earned and payable hereunder shall be paid within thirty (30)
                         calendar days after the last day of the Retention and Performance
                         Period.

             (b)     in the event the Employee’s employment terminates due to his
                    Incapacity or death with an effective termination date occurring prior to
                    the last day of the Retention and Performance Period:

                    (i) the Employee shall be deemed to have earned a pro-rated portion
                        of the Continued Service Element of the Incentive Compensation
                        calculated as (x) US $37,500,000 multiplied by (y) a fraction, the
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                      numerator of which is the number of completed calendar months
                      during which the Employee was actively and continuously
                      employed during the Retention and Performance Period and the
                      denominator of which is thirty-six (36), reduced by (z) any and all
                      Retention Payments then already paid to the Employee. Any such
                      pro-rated portion of the Continued Service Element shall be paid to
                      the Employee within thirty (30) calendar days after such effective
                      employment termination date; and

                  (ii) the Employee shall not be entitled to, or receive, any Performance
                      Element of the Incentive Compensation (or any portion thereof).

             (c) in the event the Company terminates the Employee’s employment for
                Cause, or the Employee resigns for any or no reason, in each case with an
                effective employment termination date prior to the last day of the
                Retention and Performance Period, or in the event the Employee at any
                time breaches any of the Employee’s continuing post-employment
                obligations under the Agreement or the Seller Noncompetition
                Agreement, the Employee shall not be entitled to, or receive, any then-
                unearned or unpaid Retention Payments or any Performance Element of
                the Incentive Compensation (or any portion thereof).




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                                                            SCHEDULE 2

                                           INTELLECTUAL PROPERTY AGREEMENT

As a material part of the consideration for my employment by Markel CATCo Investment Management Ltd. (“Company”)
and the salary and other compensation that I, Anthony Belisle, shall receive during my employment, I acknowledge and
agree that, by my signature on the Employment Agreement (“Employment Agreement”) to which this Intellectual Property
Agreement (“Agreement”) is attached as Schedule 2, I also agree to this Agreement’s terms, which are deemed
incorporated into and a part of the Employment Agreement:

1. (a) Company owns the sole and exclusive right, title and            Company and its duly authorized officers and agents as my
interest in and to any and all Works (as defined below),               agent and attorney in fact, to act for and on my behalf and
including without limitation any and all source code or other          in my stead to execute and file any such applications and
intellectual property and further including without limitation         documents and to do all other lawfully permitted acts to
all copyrights, trademarks, service marks, trade names,                further the prosecution and issuance of letters patent or
slogans, patents, ideas, designs, concepts and other                   copyright registrations or transfers or assignments thereof
proprietary rights. Company’s right, title and interest in and         or of any other proprietary rights with the same legal force
to the Works includes without limitation the sole and                  and effect as if executed by me. This appointment is
exclusive right to secure and own copyrights and maintain              coupled with an interest in and to the inventions, works of
renewals throughout the world, and the right to modify and             authorship, trade secrets and other Works to which any
create derivative works of or from the Works without any               proprietary rights may apply and shall survive my death or
payment of any kind to me. I agree that the Works shall be             disability.
"work made for hire" as that term is defined in the copyright
laws of the United States, and not works of joint ownership.           (c)     As used in this Agreement, “Works” means (i) any
To the extent that any of the Works is determined not to               inventions, developments, improvements, trade secrets,
constitute work made for hire, or if any rights in any of the          ideas or original works of authorship that I conceive, create,
Works do not accrue to Company as a work made for hire,                develop, discover, make, acquire or reduce to practice in
my signature on the Employment Agreement constitutes an                whole or in part, either solely or jointly with another or
assignment (without any further consideration) to Company              others, during or pursuant to the course of my employment
of any and all of my respective copyrights and other rights,           by Company and that relate to Company or any of its
title and interest in and to all Works. I will disclose promptly       affiliates or their respective businesses, or to Company’s or
to Company all Works, whether or not they are patentable,              any of its affiliates’ actual or demonstrably anticipated
copyrightable or subject to trade secret protection.                   research or development, (ii) any inventions, developments,
                                                                       improvements, trade secrets, ideas or original works of
(b) I will provide any assistance reasonably requested by              authorship that I conceive, create, develop, discover, make,
Company to obtain United States and non-United States                  acquire or reduce to practice in whole or in part, either
letters patent and copyright registrations covering                    solely or jointly with another or others, during or pursuant to
inventions, original works of authorship and other Works               the course of my employment by Company and that are
belonging or assigned hereunder to Company. I will                     made through the use of any of Company’s or any of its
execute any transfers of ownership of letters patent or                affiliates’ equipment, facilities, supplies, trade secrets or
assignments of copyrights or other proprietary rights                  time, or that result from any work performed for Company
transferred or assigned hereunder (including without                   or any of its affiliates, and (iii) any part or aspect of any of
limitation short form assignments intended for recording               the foregoing.
with the U.S. Copyright Office, the U.S. Patent and
Trademark Office, or any other person or entity).            I         2. I have been notified by Company, and understand, that
understand that my obligations under this Section 1(b) shall           the foregoing provisions of Section 1 do not apply to an
survive any termination of this Agreement or of my                     invention for which no equipment, supplies, facilities or
employment by Company in perpetuity, provided that                     trade secret information of Company or any of its affiliates
Company will compensate me at a reasonable rate for time               was used and which was developed entirely on my own
actually spent performing such obligations at Company’s                time, unless: (a) the invention relates (i) to the business of
request after any such termination. If Company is unable               Company or any of its affiliates or (ii) to Company’s or any
for any reason whatsoever, including my mental or physical             of its affiliates’ actual or demonstrably anticipated research
incapacity, to secure my signature to apply for or to pursue           and development, or (b) the invention results from any work
any application for any United States or non-United States             performed by me for Company or any of its affiliates. I have
letters patent or copyright registrations or on any document           listed and described on an attached page all inventions of
transferring or assigning any patent, copyright or other               my own to which I claim Section 1 does not apply. If no
proprietary right that I am obligated hereunder to transfer or         such page is attached and signed by me and an authorized
assign, I hereby irrevocably designate and appoint                     Company representative, no such inventions exist.


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